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EXHIBIT E

46429/0001-7520103¥1
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re: . oe Chapter 11
TRIBUNE COMPANY, et al... Case No. 08-13141 (KIC)
Debtors. Jointly Administered

Hearing Date: March 7, 2081 at 1:30 p.m, ET

. STIPULATION BETWEEN DEBTORS AND
LIQUIDITY SOLUTIONS, INC. CONCERNING VOTES ON
DEBTOR/COMMITTEE/LENDER PLAN OF REORGANIZATION

The debtors and debtors-in-possession in the above-captioned chapter 11 cases (the
“Debtors”) and Liquidity Solutions, Inc. (“LSI”), respectfully submit this Stipulation (the

‘

‘Stipulation”) conceming the change of votes cast by LSI on the Second Amended Joint Plan of

' The Debtors in these chapter i1 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company ~
(0355); 435 Production Company (8865), 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California

. Community News Corporation (5306); Candle Holdings Corporation ($626); Channel 20, Inc. (7399); Channel 39, Inc! (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634}, Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237), Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327), forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
($628), Forum Publishing Group, Inc, (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc. ~
(9808); Homeowners Realty, inc, (1507), Homestead Publishing Co, (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InseriCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KEAH Ine. (4014); KPLR, Inc.
(7943), KSWB Inc. (7035); KTLA Inc. (2404); KWGN_ Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
Intemational, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522), NBBF, LLC (0893);
Neocomm, Inc. (7208), New Mass. Media, Ino. (9553); Newscom Services, Inc. (4817), Newspaper Readers Agency, Inc. (7335), North
Michifan Production Company (5466); North Grange Avenue Properties, Inc. (4056); Oak Brook Péoductions, Inc. (2598); Orlando Sentinel
Communications Company (3775), Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc..(2027);, Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers; Inc.
(1455), Star Community Publishing Group; LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880), The Daily Press, Inc, (9368); The Hartford Courant Company (349%); The Moming Call, Inc. (7560), The Other Company LLC (5337); .
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Ine. (0720), TMLS I, Inc. (0719), TMS Entertainment Guides, Inc. (6325), Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534), Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629), Tbune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc, (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc, (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc, (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278), Tribune NM, Inc, (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587), WATL, LLC (7384), WCCT, Inc,, fk/a WTXX
Inc, (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
We Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
illinois 60611. - , .

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Reorganization for Tribune Company and its Subsidiaries proposed by the Debtors, the Official
Committee of Unsecured Creditors, Oaktree Capital Management, L.P, Angelo, Gordon & Co.,
. L.P, and JPMorgan Chase Bank, NA. {the “Debtor/Committee/Lender Plan”), which votes were
originally cast to reject such plan, to be deemed to be acceptances of such Plan. The parties to
this Stipulation respectfully state as follows:

1. On March 3, 2011, the proponents of the Debtor/Committee/Lender Plan filed the
Proposed Second Amended Joint Plan of Reorganization for Tribune Company and its

Subsidiaries (the “Modified D/C/L Plan”) [D.I. 8259]. The Modified D/C/L Plan, among other

things, modifies the treatment to be afforded to the classes of General Unsecured Claims against

the Debtors other than Tribune Company (the “Debtor Subsidiaries”) to remove the $150 million
aggregate cap on such claims that had been contained in the Debtor/Committee/Lender Plan.:
See Modified D/C/L Pian at § 3.3.5(b), with such language attached to this Stipulation as Exhibit
A.

2. LSI, as transferee of various General Unsecured Claims against the Debtor
Subsidiaries, voted all of such General Unsecured Claims to reject the Debtor/Committee/
Lender Plan based on the existence of the $150 million aggregate cap on General Unsecured
Claims against the Debtor Subsidiaries. .

3. The revisions to the Modified D/C/L Plan attached hereto as Exhibit A eliminate
the basis for LSI’s votes to reject the Debtor/Committee/Lender Plan and, as a result, LSI now
supports confirmation of the Modified D/C/L Plan and wishes to change its previous votes to
reject the Debtor/Commitiee/Lender Plan to reflect that it accepts the Modified D/C/L Plan.

4. Accordingly, LSI affirmatively st states that as a result of the modifications contained

in the Modified D/C/L Plan, LSI hereby requests that the votes on Exhibit B hereto, which are

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in the Modified D/C/L Plan, LSI hereby requests that the votes on Exhibit B hereto, which are

, votes previously cast by LSI to reject the Debtor/Committee/Lender Plan, each be classified as

votes to accept the Modified D/C/L Plan.

5. The Debtors and LSI each intend that notice of this Stipulation provide notice of
LSI’s change of their votes respecting the Debtor/Committee/Lender Plan, in accordance with
Rule 3018(a) of the Federal Rules of Bankruptcy Procedure.”
LIQUIDITY SOLUTIO

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Title: Counsel Kenneth P. Kansa
One South Dearborn Street
Chicago, IL 60603
Telephone: (312) 853-7000
Facsimile: (312) 853-7036

SIDLEY AUST.

-and-

COLE, SCHOTZ, MEISEL, FORMAN &
LEONARD, P.A.

Norman L. Pernick (No. 2290)

J. Kate Stickles (No. 2917)

500 Delaware Avenue, Suite 1410
Wilmington, DE 19801

Telephone: (302) 652-3131

Counsel to Debtors and
Debtors-in-Possession

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Exhibit A
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Exhibit B
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Exhibit 1
TRIBUNE COMPANY, et al.
Debtor/Committee/Lender Pian Ballot Detail for Liquidity Solutions, inc.

Name Play Class praia. Vote Amount
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: SEMMATERIALS LP} , 1F 3878 $ 12,397.22
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: SIRVA RELOCATION LLC} : IF. 3821. 5. 16,775.00
LIQUIDITY SGLUTIONS, INC, (TRANSFEROR: KELLER-HEARTT COMPANY, INC.) S45 5852 $ 4,565.17
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: INTOUCH SOLUTIONS) . ' S4E 3861 $ 1,433.20
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: DEARBORN WHOLESALE GROCERS L} : 54E 3374 § 1,093.59
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: PRIM HALL ENTERPRISES, INC.) . 34E° 4042 5 $,393.14
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: INTERNATIONAL DEMOGRAPHICS) S9E 3864 $ 1,225.00
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: ACCU-GLO ELECTRIC OF N.Y.) : 6lE 3346 $ 3,500.00
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MEDIASHOP PR INC) 61B 4376 $ - 1,532.26
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: RIVERFRONT TIMES uc) GE 3815 $ 7,500.00
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR:; KLIAN, JACK) : WIE _ 3844 s 1,575.00
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: ADMINISTRATIVE SERV CO OP} TIE 4351 $ 1,017.68
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: NICKEY PETROLEUM CO) . WE - 4382 $ 1,289.23
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: WEST, CHRISTIANSON} WE 3839 $ = 6,564.52
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: CITY OF RIVERSIDE PUBLIC) : 738 3849 $ 1,494.45
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: INTOUCH SOLUTIONS) TSE. 3858 § 1,342.09
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MULTI AD SERVICES) . .73B 4373 § 556.79
. LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: 8 H MILLER PEST SERVICES INC) : TSE 4045 § 1,307.65

LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: LS SIMS & ASSOCIATES INC) . 755 4379 $ 2,051.70"
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: TAKE ONE) , : 76E _ 3830 $ = 4,724.70
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: TRAYPML INC) 16E 3836 $ 4,663.95
LKQUIDITY SOLUTIONS, INC. (TRANSFEROR: APS HEALTHCARE BETHESDA) 16B 4354 $ 5,445.00
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: GMPCS PERSONAL COMMUNICATION) 80E 3876 $ 1,932.45
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: FRINT RESOURCEGROUP) . SIE 4040 $ 6,610.54
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MULTIAD SERVICES INC) . 8lE 43386 $ = 2,526.78
LIQUIDITY SOLUTIONS, INC. (TRANSFBROR: KIM ROSEN ILLUSTRATION) a3 3648 $ 4,000.00
LIQUIDITY SOLUTIONS, INC: (TRANSFEROR: LIGHTING SERVICES, INC.) . a3E 4344 $ 1,570.41
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MULTIAD SERVICES INC} . &83E 4367 $ 1,412.37
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: MULTIAD SERVICES INC) SE 4370 $ 1,662.00
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: COMPILED SOLUTIONS) 945 © 3876 § 5,007.24
LIQUIDITY SOLUTIONS, INC, (FRANSFEROR: PGC IMAGINE GRAPHICS LLC) . . S48 4336 $= 18,918.52
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: LOGICALIS) . 94E 4339 $ 2,001.69
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: ACQUIRE MEDIA VENTURES INC) LOGE 4348 $ 1,600.00
* LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: STANLEY STEEMER GREAT LAKES) 104B 3827 $ = 2,000.00
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: CITADEL BROADCASTING CORP) 104E - 4363 $ 16,705.05
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: KEATING MAGEE INC) 105E 3855 $ 2,400.00
- LIQUIDITY SOLUTIONS, INC, (FRANSFEROR: CHARTER MEDIA - TN/KY) . LOSE 4357 $31,423.68
LIQUIDITY SOLUTIONS, INC. (FRANSFEROR: CITADEL BROADCASTING CORP) LOSE 4360 $ 1,428.00
LIQUIDITY SOLUTIONS, INC. (FRANSFEROR: SPECIALTIES INC) . ” 108E 3824 $ 1,263.81
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: TEXAS RANGERS BASEBALL PARTN) 109E 3833 $ 1,000.00
' LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: INTERNATIONAL DEMOGRAPHECS) 109E 3867 $ = 12,000.00
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: LOCONTE.2 LLC) 109E 4342 «$)=—-24,625.00
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: REMOTE FACILITIES, INC.) . 110E 4048 $ 1,350.00
